                                          NO. 07-09-00268-CR

                                       IN THE COURT OF APPEALS

                                  FOR THE SEVENTH DISTRICT OF TEXAS

                                             AT AMARILLO

                                               PANEL C

                                            MARCH 24, 2010




                                            ANDREA GORDON,
                                                Appellant
                                                  v.


                                         THE STATE OF TEXAS,
                                                Appellee
                                    _____________________________

                           FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;

                         NO. 56,388-E; HONORABLE DOUGLAS WOODBURN, PRESIDING



                                          Memorandum Opinion



Before QUINN, C.J., and HANCOCK  and PIRTLE, JJ.

      Andrea Gordon was indicted for aggravated assault with a deadly weapon and convicted by a  jury
of the lesser offense of deadly conduct.   She seeks reversal of that conviction on  the  basis  that
the evidence is legally and factually insufficient to support it.  The State concedes error,  and  we
reverse the judgment.
      The jury was instructed that it could convict appellant of deadly conduct it if found that  she
knowingly discharged a firearm at or in the direction of a building and was reckless  as  to  whether
it was occupied. See Tex. Penal Code Ann. §22.05(b)(2) (Vernon 2003).[1]  The phrase “at  or  in  the
direction of” by its plain language contemplates that the firearm be discharged  from  some  location
other than the building or habitation itself.  Reed v. State, 268 S.W.3d 615, 617  (Tex.  Crim.  App.
2008).  The evidence here is undisputed that appellant fired a weapon in her own home  while  in  her
bedroom.  Thus, it is not legally sufficient to support  the  jury’s  verdict,  as  conceded  by  the
State.  Id. at 617-18.
      Accordingly, we reverse the conviction and enter a judgment of acquittal.



                                       Per Curiam




Do not publish.



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      [1]Neither party challenges the jury charge on appeal.



